
Judgment reversed on the law, with costs, and claim dismissed. New finding of fact made. Memorandum: Only Federal moneys were being expended by Temporary Emergency Relief Administration in carrying out the contract made with claimant. The State by statute is relieved from liability arising out of the administration or expenditure of Federal funds by the Temporary Emergency Relief Administration. (Laws of 1934, chap. 716; Spa Baths Co. v. Board of Commissioners of State Reservation, 98 Misc. 399; affd., 181 App. Div. 960; People ex rel. Bankers Trust Co. v. Graves, 270 N. Y. 316, 321.) All concur. (The judgment is for claimant on a claim for money due under a contract.) Present — Sears, P. J., Crosby, Lewis, Cunningham and Taylor, JJ.
